                          Exhibit D

      Sherry Spesock Deposition Transcript




Case 1:18-cv-01046-WO-JLW Document 36-4 Filed 06/04/21 Page 1 of 67
                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                        Civil Action No.: 1:18-cv-1046




       HUI MINN LEE,                             )
                                                 )
                                Plaintiff,       )   D E P O S I T I O N
                                                 )
             vs.                                 )
                                                 )      * C O P Y *
       MARKET AMERICA, INC.,                     )
                                                 )
                                Defendant.,      )
                                                 )
       -----------------------------------




                        _______________________________

                             SHERRY DENISE SPESOCK
                        _______________________________




                              101 South Elm Street
                           Greensboro, North Carolina



                              Tuesday, May 4, 2021
                               10:05 o'clock a.m.

                           __________________________

                           Cassandra J. Stiles, CVR-M
                            Certified Court Reporter


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                                  E X H I B I T S


       Name                             Offered By                                     Identified


       None offered




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                                      STIPULATIONS

             Pursuant to Notice and/or consent of the parties, the

       deposition hereon captioned was conducted at the time and

       location indicated before Cassandra J. Stiles, Notary Public

       in and for the County of Forsyth, State of North Carolina at

       Large.

             The deposition was conducted for use in accordance with

       and pursuant to the applicable rules or by order of any

       court of competent jurisdiction.

                   Reading and signing of the testimony was not

       requested prior to the filing of same for use as permitted

       by applicable rule(s).




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      1                   The witness, SHERRY DENISE SPESOCK, being

      2      first duly sworn to state the truth, the whole truth

      3      and nothing but the truth, testified as follows:

      4              (10:05 o'clock a.m.)

      5                                      EXAMINATION

      6      BY MS. GRAY:

      7              Q.   Good morning, Ms. Spesock.

      8              A.   Good morning.

      9              Q.   My name is Angela Gray, and I am an

     10      attorney representing Nadine Lee in a lawsuit that

     11      she's filed against Market America.

     12              A.   Uh-huh.

     13              Q.   And are you aware that you're here today

     14      to give deposition testimony with regard to that

     15      case?

     16              A.   Yes, ma'am.

     17              Q.   Okay.     Great.

     18                   So let's just get your name for the

     19      record.

     20              A.   Sherry Spesock.

     21              Q.   Is that your full name?

     22              A.   Sherry Denise Spesock.

     23              Q.   Okay.     Thank you.

     24              A.   Uh-huh.

     25              Q.   And can you just tell me what you did to

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      1      prepare for today's deposition, Ms. Spesock?

      2            A.   I spoke with Camilla yesterday.

      3            Q.   Did you review any documents?

      4            A.   A couple emails.

      5            Q.   Is that all?

      6            A.   Yes.

      7            Q.   Okay.     Great.

      8                 Have you spoken to Liliana Camara?

      9            A.   I have not.

     10            Q.   Okay.     You haven't talked to her about her

     11      deposition or anything?

     12            A.   No, ma'am.

     13            Q.   Okay.     All right.                    Great.

     14                 So are you currently employed with Market

     15      America?

     16            A.   Yes.

     17            Q.   And what's your current position?

     18            A.   Director of HR.

     19            Q.   How long have you held that position?

     20            A.   Since November of 2015.

     21            Q.   All right, so throughout the time that

     22      Nadine, I guess, was terminated from Market America

     23      your position was director of HR.                                 Correct?

     24            A.   That is correct.

     25            Q.   All right, and when did you start working

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      1      for Market America?

      2            A.   March of 2011.

      3            Q.   What was your position when you started?

      4            A.   Payroll specialist.

      5            Q.   And was it a promotion for you to go to

      6      director of HR?

      7            A.   Yes.

      8            Q.   When were you promoted to that position?

      9            A.   So I started as a payroll specialist, I

     10      went and progressed through there.                                  And then I was

     11      promoted to director of HR, correct.

     12            Q.   When was the promotion?

     13            A.   November of 2015.

     14            Q.   Oh, I see.            Okay.             I'm sorry.

     15                 And who is your immediate supervisor now?

     16            A.   The president and COO, Marc Ashley.

     17            Q.   Okay.     My understanding is that at some

     18      point you became Ms. Lee's supervisor.                                     Is that

     19      right?

     20            A.   No.

     21            Q.   Did you ever work as Ms. Lee's supervisor?

     22            A.   I did not.

     23            Q.   Okay.     Did Ms. Lee ever report to you in

     24      terms of her job performance?

     25            A.   No, ma'am.

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      1            Q.     Did you ever review her job performance?

      2            A.     I did a review for her when I took over as

      3      director of HR.         I did her review because of Ms.

      4      Camara not knowing the full year's past of her job

      5      duties.

      6                   So it was just a -- how do I say -- I

      7      can't think of the word.                      I'm sorry.                      Oh, my gosh.

      8                           MS. DEBOARD:                     An interim review?

      9                           THE WITNESS:                     Yes.

     10                           MS. BEBOARD:                     It's early morning.

     11      It's still before noon.                     We're good.

     12            Q.     (Ms. Gray)             Okay, let me show you a

     13      document ---

     14            A.     --- Okay.

     15            Q.     --- Which might help you to be able to

     16      answer some of these questions or refresh your

     17      recollection.

     18                   And what I'm showing to you is a document

     19      that has already been submitted to us by Market

     20      America's counsel, and it is Bates stamp MA283 to

     21      MA284.     And it is the employee performance review

     22      for Nadine Lee, and it's dated April 13th, 2017.

     23            A.     Okay.

     24            Q.     I'm going to show you that document.

     25            A.     Okay.

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      1                               MS. GRAY:                I'm not going to mark it.

      2       It's previously been marked as confidential in this

      3       case.        And it's not my intention to mark it as an

      4       exhibit to this deposition.                              Okay, Camilla?

      5                               MS. DEBOARD:                     Okay.

      6               Q.      (Ms. Gray)             And if you would, just take a

      7       minute to review that document.                                    Because I'm going

      8       to ask you some questions about it.                                          Okay?

      9               A.      Okay.

     10               Q.      And you just let me know when you're done.

     11               (Witness examined document)

     12               A.      Okay.

     13               Q.      Okay, so does this refresh your

     14       recollection about when you may have reviewed

     15       Nadine's job performance?

     16               A.      Yes.

     17               Q.      Okay, and the document that you're looking

     18       at that I previously identified, is that the one and

     19       only performance evaluation that you participated in

     20       with regard to Ms. Lee?

     21               A.      That is correct.

     22               Q.      Okay.      Now, as you can see from this

     23       document, Nadine's job performance was evaluated on

     24       the scale from one to four.                              Correct?

     25               A.      Correct.

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      1            Q.      In various ways as it pertains to what she

      2       did and how she interacted with her clients and her

      3       coworkers.     Correct?

      4            A.      Uh-huh.

      5            Q.      Did you have any input on the numbers that

      6       were attributed to her job performance?

      7            A.      Yes.

      8            Q.      Okay.      For example, under performance on

      9       the first page, the very first thing says, business

     10       knowledge.     Do you see that?

     11            A.      Uh-huh.

     12            Q.      And then there was a number four.                                And

     13       that means that Nadine was considered to be

     14       exceptional in that area.                        Correct?

     15            A.      Correct.

     16            Q.      Was that four given to Nadine because you

     17       wanted it there, or because someone else wanted it

     18       there?

     19            A.      I put it there.

     20            Q.      Okay.      Now, how did you make that

     21       determination if you had not evaluated Nadine's job

     22       performance?

     23            A.      It was based off of previous conversations

     24       with Ms. Trotter before she left.

     25            Q.      I see.

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      1                  Were any of the numbers attributed to Ms.

      2       Lee on this performance evaluation provided to you

      3       by Liliana Camara?

      4            A.    No.

      5            Q.    Okay, so these numbers were all based on

      6       communications that you had with Ms. Trotter.

      7       Correct?

      8            A.    Correct.          And that was prior to her

      9       leaving.

     10            Q.    I see.

     11                  My understanding is that Ms. Trotter left

     12       somewhere in November of 2016.                             Is that right?

     13            A.    Correct.

     14            Q.    And this evaluation covers the review of

     15       the year of 2016.          Correct?

     16            A.    Correct.

     17            Q.    Now, I did not see and have not seen

     18       provided to me in any documentation a review for Ms.

     19       Lee for the year of 2017.

     20                  Do you know if such document exists?

     21            A.    Not that I'm aware of.                               It would have been

     22       done in April of 2018.

     23            Q.    I see.       And by that time, Ms. Lee was no

     24       longer employed at Market America.                                   Correct?

     25            A.    Correct.

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      1            Q.    Okay.     All right, now, if you roll down to

      2       the second bracket, I guess, if you will, of

      3       information, it says relationship consistencies.

      4                  Do you see that?

      5            A.    Uh-huh.

      6            Q.    And it looks like Ms. Lee was given a

      7       three for coworker interactions.                               Correct?

      8            A.    Correct.

      9            Q.    And that means she exceeded expectations

     10       with regard to her coworker relationships.                                 Correct?

     11            A.    Correct.

     12            Q.    And that three was attributed to Ms. Lee

     13       by Ms. Trotter, based on Ms. Trotter's interactions

     14       and supervision of Ms. Lee during that year.

     15       Correct?

     16            A.    Correct.

     17            Q.    And as you sit here today, have you seen

     18       any of the previous reviews that Ms. Trotter may

     19       have given to Ms. Lee for her job performance?

     20            A.    I may have seen them at some point, but I

     21       do not recall them.

     22            Q.    Are you aware that Ms. Trotter gave Ms.

     23       Lee very high marks with regard to her job

     24       performance at Market America?

     25            A.    I am not aware.

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      1            Q.     So when you prepared this evaluation in

      2       2017, in addition to talking to Ms. Trotter, did you

      3       look at any of the other reviews that Ms. Trotter

      4       had given Ms. Lee?

      5            A.     Not that I recall.

      6            Q.     And on the document we just talked about,

      7       the 2016 evaluation, that is your signature on the

      8       second page.      Correct?

      9            A.     That is correct.

     10            Q.     As you sit here today, do you have any

     11       changes or any concerns about that document?

     12            A.     No.

     13            Q.     Any concerns about the accuracy of that

     14       document?

     15            A.     No.

     16            Q.     Now, I'm going to show you a document

     17       which has been marked by -- I'm sorry, which has

     18       been submitted to me by counsel for Market America,

     19       and it's Bates stamped MA286 through MA287.

     20                   And I'm just going to hand you a copy of

     21       it so you can review it.

     22                          MS. GRAY:                That's my copy.                 I didn't

     23       make a copy.

     24                          MS. DEBOARD:                     That's fine.            I've got

     25       it right here.

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      1                          MS. GRAY:                Okay.             Good.

      2            Q.    (Ms. Gray)             And, Ms. Spesock, would you

      3       just take a minute to review that?

      4            A.    Sure.

      5            (Witness examined document)

      6            A.    Okay.

      7            Q.    Okay.      Thank you.

      8                  Now, would you agree with me that this

      9       document represents the last full evaluation that

     10       Colbert Trotter performed for Ms. Lee while she was

     11       working at Market America?

     12            A.    Yes, that's correct.

     13            Q.    And that was for the year of 2015, and

     14       it's signed April of 2016.                       Correct?

     15            A.    Correct.

     16            Q.    And I don't see your signature on that.

     17       And that is because, as you previously indicated,

     18       Ms. Trotter was not there the full year of 2016, or

     19       at least at the time when the evaluation was done.

     20            A.    That is correct.

     21            Q.    And so this one, she was.

     22            A.    Yes.

     23            Q.    And therefore, you didn't have to sign off

     24       on it.

     25            A.    That is correct.

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      1               Q.   Okay.      Great.

      2                    And you would agree with me that Ms.

      3       Trotter made a number of comments in the performance

      4       comments section on this evaluation.

      5               A.   Yes, ma'am.

      6               Q.   But on the last evaluation, which was the

      7       one done in 2017, there were no written comments.

      8       Do you know why?

      9               A.   Because I didn't feel like I could give a

     10       true evaluation for her in the interim.

     11               Q.   Okay, and, then, Ms. Trotter, I'm

     12       assuming, and you can correct me if I'm wrong,

     13       didn't provide you with any comments ---

     14               A.   --- Correct.

     15               Q.   --- To put on that evaluation.

     16               A.   Correct.

     17               Q.   Right.       And that's the 20 -- the one

     18       that's dated 2017?

     19               A.   Yes, ma'am.

     20               Q.   All right.             Do you have any reason to

     21       believe that any of the performance comments on the

     22       document MA286 through 287 are inaccurate?

     23               A.   I cannot speak for her evaluation for

     24       2015.

     25               Q.   And in your opinion, you believe this is a

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      1       true and accurate document.                          Correct?

      2               A.   I would have -- yes.

      3               Q.   Okay, and based on some of the performance

      4       comments that I've read, it sounds like Ms. Trotter

      5       thought that Nadine was doing an exceptional job for

      6       Market America in her capacity as the senior global

      7       trainer.     Correct?

      8               A.   The way it's written, that is correct.

      9               Q.   Okay.     Great.

     10                    So I take it that you never physically

     11       observed -- you never physically observed Ms. Lee

     12       perform her job at Market America.                                    Is that right?

     13               A.   The only time that I had any observation

     14       was when we went to California together back in

     15       2016.

     16               Q.   How long were you there?

     17               A.   We flew in on Monday.                             We were in the

     18       office Tuesday, Wednesday, Thursday, and flew back

     19       on Friday.

     20               Q.   And what did you observe?

     21               A.   Ms. Lee would do the training that she was

     22       required to do for the team, and then just sit and

     23       wait for me to finish working.

     24               Q.   So that was the one and only time that you

     25       were actually in her presence while she was

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      1       performing her job?

      2            A.    Correct.

      3            Q.    So as you sit here today, you have -- or

      4       maybe you do.     I don't know.                      Do you have an opinion

      5       about how Ms. Lee performed her job based on your

      6       firsthand knowledge?

      7            A.    Just from what I observed, just -- she was

      8       just quick to leave, not willing to do any

      9       additional work.

     10            Q.    And you're talking about from the incident

     11       in September of 2016.               Correct?

     12            A.    In June.

     13            Q.    I'm sorry.            June of 2016.

     14            A.    That is correct.                     That is the only time

     15       I've ever observed her.

     16            Q.    Okey-dokey.              What I want to show you is --

     17       or what I want to ask you about, rather, is a

     18       document that was presented to me by counsel for

     19       Market America.      It's called the defendant's initial

     20       disclosures.

     21                  And what they have indicated to me is that

     22       you have knowledge of the plaintiff's work

     23       performance.    And I

     24       believe I've asked you about that already.

     25                  And so we're clear and the record is

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      1       clear, the only knowledge that you have -- and I'm

      2       talking about personal, firsthand knowledge of the

      3       work performance is the June 2016 incident.

      4       Correct?

      5            A.    That is correct.

      6            Q.    Do you have any knowledge, based on your

      7       personal, firsthand information of what Ms. Lee's

      8       job duties were?

      9            A.    No.

     10            Q.    Do you have any knowledge of what her day-

     11       to-day activities were?

     12            A.    No.

     13            Q.    Do you have any knowledge of her

     14       interaction with other employees?

     15            A.    No.

     16            Q.    It also says on the defendant's initial

     17       disclosures, Spesock has knowledge of the trainings

     18       performed by the plaintiff, meaning Ms. Lee.

     19                  And is that the one training that you

     20       talked about in June of 2016?

     21            A.    Yes, that is correct.                             That and MPCP.

     22            Q.    Okay.     It says that you also have

     23       knowledge of any discipline of the plaintiff.                                 Is

     24       that correct?

     25            A.    Only if it's been brought to my attention,

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      1       that is correct.

      2               Q.   What discipline do you know about with

      3       regard to ---

      4               A.   --- I don't have any.                             It would have only

      5       -- I would only have knowledge of it if it was

      6       brought to my

      7       attention.

      8               Q.   So are you saying that none was brought to

      9       your attention?

     10               A.   Not -- no.            None was brought to my

     11       attention.

     12               Q.   Okay.     It says that you have knowledge of

     13       Ms. Lee's work reviews and evaluations.

     14                    Is that the evaluation we talked about

     15       that you performed in 2017?

     16               A.   I have the one -- or I was the one that

     17       did the -- for 2017.               But I had access to the prior

     18       reviews.

     19               Q.   Okay.     It says Spesock also has knowledge

     20       regarding the termination of the plaintiff.                                  Is that

     21       true?

     22               A.   Yes.

     23               Q.   Okay.     Can you tell me what knowledge you

     24       have of Ms. Lee's termination?

     25               A.   We started evaluating in 2017 her overall,

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      1       based on the evaluation from Ms. Camara of her job

      2       performance.     And we decided that the position that

      3       she was holding was not something that we needed for

      4       the department.        We needed more of a training

      5       person, a training specialist who would do multiple

      6       trainings for the department.

      7                    And so the decision was made to start

      8       having someone else train the trainer to take that

      9       position.

     10               Q.   The decision was made to have someone

     11       train the trainer?

     12               A.   Uh-huh.

     13               Q.   What does that mean?

     14               A.   To -- we had identified somebody to take

     15       that position as a training specialist.                                      So we were

     16       training her for her to show that she could do the

     17       job.     Meaning that she was training the trainer that

     18       was teaching her the role.

     19               Q.   Okay.     Let's put names on the pronouns.

     20       Okay?

     21               A.   Okay.

     22               Q.   When you say we, you're talking about

     23       whom?

     24               A.   So Liliana Camara was the manager who was

     25       training, or assisting in training Rose Chaffin, who

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      1       was the individual that we were wanting to have take

      2       that position as a training specialist.

      3               Q.   Did you have a training specialist

      4       position open at the time?

      5               A.   No.

      6               Q.   So why were you training someone for a

      7       position that wasn't open?

      8               A.   It was going to replace Ms. Lee.

      9               Q.   Okay, so at some point there was a

     10       decision made that Ms. Lee would be replaced?

     11               A.   That is correct.

     12               Q.   Because of what?

     13               A.   Not being a team player and not doing the

     14       trainings that were asked, or giving pushback for

     15       the trainings that were asked.

     16               Q.   Okay.     When did you learn that Ms. Lee was

     17       not being a team player?

     18               A.   It was through one-on-ones that I had with

     19       Ms. Camara.

     20               Q.   And so Ms. Camara reported to you that Ms.

     21       Lee was not being a team player.

     22                    Do you recall when she first told you

     23       this?

     24               A.   I do not recall.

     25               Q.   Was it in 2016 or 2017?

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      1            A.    It would have been in 2017.

      2            Q.    And would it have occurred after the

      3       evaluation was given to Ms. Lee in April of 2017?

      4            A.    I do not recall.

      5            Q.    Okay, so you recall that at some point in

      6       2017, assuming Rose had already been hired by Market

      7       America at that point.               Correct?

      8            A.    Correct.        Rose was hired and was going

      9       through training.        And Ms. Lee was asked to do the

     10       Mandarin training.         Ms. Chaffin actually did both

     11       trainings to make sure that she was understanding

     12       the material that was being presented.

     13            Q.    Do you know what position Rose applied for

     14       at Market America when she first started working

     15       there?

     16            A.    From what I recall, it was an account

     17       services rep.

     18            Q.    According to the information I have, she

     19       was applying for a position as an unfranchise

     20       services representative.

     21            A.    Yes.   It's the same thing, it's just a

     22       different -- we call them account services reps now.

     23            Q.    Okay, and it looks like the date of her

     24       application was December 27, 2016.                                 Does that sound

     25       right to you?

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      1               A.      Say that one more time.

      2               Q.      Her date of application was December 27th,

      3       2016.

      4               A.      That sounds correct.

      5               Q.      And on her application she indicated that

      6       she would not be available for work until January of

      7       2017.        Correct?

      8               A.      Correct.

      9               Q.      Okay, so why is it that Ms. Chaffin

     10       applied for an account representative position, but

     11       as early as a few months into her tenure in that

     12       position, a decision was made that she was going to

     13       be trained to become a training specialist?

     14               A.      We -- it was found that she was able and

     15       capable of doing the job based on her previous

     16       experience as a teacher.

     17               Q.      Did you review her application?

     18               A.      I did not.

     19               Q.      Did you hire her?

     20               A.      I did not.

     21               Q.      So what did you know about her teaching,

     22       her previous teaching, if you didn't review her

     23       application and you didn't hire her?

     24               A.      It was a decision made by the current

     25       customer service manager and Ms. Camara.

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      1            Q.     Who was the customer service manager?

      2            A.     Brandi Foster.

      3            Q.     Okay, so looking at Ms. Chaffin's job

      4       application, she indicated that she was a Chinese

      5       teacher, teaching Chinese for students from K

      6       through eleventh grade for part-time of a school

      7       year from 2014 to 2016 in Kernersville, North

      8       Carolina.

      9                   Are you aware of that?

     10            A.     I don't recall seeing that.

     11            Q.     It looks like from her job application,

     12       that she had exactly 23 months of teaching

     13       experience prior to coming to Market America.

     14                   Are you aware of that?

     15            A.     Like I said, I didn't see that.

     16            Q.     And in fact, on her application, she

     17       indicated that she had worked as a cashier, a

     18       waitress, a retail sales associate, a retail store

     19       manager and a restaurant manager.                                  And she didn't

     20       say anything about teaching skills on her

     21       application.

     22                   Are you aware of that?

     23            A.     Again, I did not see the application.

     24            Q.     Okay.     In spite of that, Ms. Chaffin was

     25       identified by Liliana Camara and Brandi Foster as

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      1       someone who Market America wanted to train to become

      2       a training specialist.               Correct?

      3            A.    Correct.

      4            Q.    And in her role as a training specialist,

      5       what was she going to do?

      6            A.    She would be handling the MPCP, the new

      7       account services rep trainings and any other

      8       trainings that were asked to perform.

      9            Q.    And was that something that was already on

     10       Ms. Lee's job description?

     11            A.    It's my understanding, yes, that she was

     12       going to be taking over that position.

     13            Q.    And did you ever articulate to Ms. Lee

     14       that this was the plan?

     15            A.    No.

     16            Q.    Do you know if anyone ever articulated

     17       this to Ms. Lee as that being the plan?

     18            A.    I do not know.

     19            Q.    And your understanding of why this was

     20       going to happen was solely based on what was told to

     21       you by Liliana Camara and/or Brandi Foster?

     22            A.    The observations of Ms. Camara.

     23            Q.    Brandi Foster didn't have any input with

     24       you about it?

     25            A.    About Ms. Chaffin or about Ms. Lee?

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      1            Q.    About Ms. Lee.

      2            A.    It was more Liliana Camara.

      3            Q.    Okay.     At some point did you ever post a

      4       position for a training specialist?

      5            A.    We did not.

      6            Q.    And to your knowledge, was Ms. Lee ever

      7       reprimanded for poor job performance during this

      8       period of time?

      9            A.    I do not recall.

     10            Q.    Did you ever reprimand her?

     11            A.    I did not.

     12            Q.    Do you know if Brandi Foster ever

     13       reprimanded her?

     14            A.    She did not report to Ms. Foster, so I

     15       would not imagine that Ms. Foster ever reprimanded.

     16            Q.    All right, so was the plan, then, that

     17       Rose would take over the training specialist

     18       position, but then who would take -- well, let me

     19       rephrase that.

     20                  Rose would take over the training

     21       specialist aspect of Ms. Lee's position.                                   Correct?

     22            A.    Correct.

     23            Q.    But, then, was the thought that Ms. Lee

     24       would then be terminated?

     25            A.    Correct.

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      1               Q.      And the reason being that Ms. Lee was not

      2       a team player.           Correct?

      3               A.      She was not a team player and not willing

      4       to do the trainings that were asked by Ms. Camara.

      5               Q.      Okay.      All right, so was there any other

      6       reason that you were aware of for why Ms. Lee would

      7       be terminated?

      8               A.      Not that I recall.

      9               Q.      Did you specifically hire Ms. Chaffin?

     10               A.      I did not.

     11               Q.      Who hired Ms. Chaffin?

     12               A.      Ms. Foster.               Actually -- I'm sorry.                  I

     13       take that back.            It was -- I believe that we were in

     14       -- we were in -- my apologies.

     15                       You know, we were in between managers for

     16       account services.               And so I believe it would have

     17       been either the account services manager at the

     18       time.        I don't recall if that was who truly hired

     19       her.

     20               Q.      And that was at the initial hiring?

     21               A.      Correct.

     22               Q.      Okay.      Then who hired Ms. Chaffin for the

     23       training specialist position?

     24               A.      We would have promoted her from within.

     25               Q.      I see.

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      1            A.    And it would have been done by the

      2       training department.             So it would have been her

      3       reporting to Ms. Camara.

      4            Q.    Okay.     At the time of Ms. Lee's

      5       termination, her title was global training projects

      6       manager.   Is that correct?

      7            A.    Correct.

      8            Q.    Was anyone ever hired to that position

      9       after Ms. Lee was terminated?

     10            A.    No, ma'am.

     11            Q.    Okay.     It says that you have knowledge of

     12       the hiring of the individuals in the training

     13       department, including plaintiff's replacement.

     14                  You're only talking about your knowledge

     15       of Rose Chaffin.       Correct?

     16            A.    Correct.

     17            Q.    Because there was no one who was placed in

     18       the position of the global training projects

     19       manager.   Correct?

     20            A.    That is correct.

     21            Q.    No one was hired for that position?

     22            A.    That is correct.

     23            Q.    Okay, so was the global training projects

     24       manager position eliminated?

     25            A.    Correct.

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      1            Q.    Okay.     I'm showing you now what has been

      2       marked, or what has been provided to me by counsel

      3       for Market America, it's Bates stamp marked MA017,

      4       and it goes consecutively through page 022.                                And it

      5       is the position statement that Market America filed

      6       in response to Ms. Lee's EEOC charge.

      7            A.    Okay.

      8            Q.    If you would just take a minute to review

      9       that document.

     10            (Witness examined document)

     11            A.    Okay.

     12            Q.    Okay.     Great.              Thank you.

     13                  So let's just confirm that you

     14       participated in preparing the position statement.

     15            A.    Correct.

     16            Q.    And who is the individual who also

     17       assisted in preparing the position statement?

     18            A.    Beth Camarick.

     19            Q.    And who is she?

     20            A.    She was one of our attorneys.

     21            Q.    Is she still an attorney for Market

     22       America?

     23            A.    She is not.

     24            Q.    Okay, so now, that document was prepared

     25       in response to an EEOC charge of discrimination that

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      1       Ms. Lee had filed against Market America.                                   Correct?

      2            A.    Correct.

      3            Q.    And I'm going to start off at the very

      4       beginning where it says Ms. Lee was terminated from

      5       her position as a corporate trainer by Market

      6       America on October 15th, 2017.

      7                  Do you see that?

      8            A.    I do.

      9            Q.    I don't see anything on that statement

     10       about the position being eliminated.

     11                  Is there any reason why you didn't include

     12       that on that first line?

     13            A.    I don't recall.                     I don't recall why we

     14       didn't add that.

     15            Q.    Okay, so Ms. Lee also was not a corporate

     16       trainer at that time.                She was the global training

     17       projects manager.          Correct?

     18            A.    Correct.

     19            Q.    And that was a management position.

     20       Correct?

     21            A.    It was not.               She did not have direct

     22       reports.

     23            Q.    I see.       Okay.

     24            A.    It was a manager of a process.

     25            Q.    I see.       Okay.

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      1                  Was there a distinction in your mind

      2       between the corporate trainer and the global project

      3       -- global training projects manager position?

      4            A.    Can you repeat that?

      5            Q.    In your mind, was there a distinction

      6       between a corporate trainer and the global training

      7       projects manager position?

      8            A.    Sorry.       For some reason I cannot wrap my

      9       brain around what you're trying to ask.

     10            Q.    As it pertains to the terminology that you

     11       used in this response, this position statement, you

     12       said she was terminated from her position as

     13       corporate trainer.           You didn't use her job title.

     14                  And my question is, in your mind, is there

     15       a distinction between those two positions?

     16            A.    No.

     17            Q.    Okay.      Then in the last paragraph it says

     18       the fact that Ms. Lee was replaced as a corporate

     19       trainer by Rose, a 54-year-old Chinese female,

     20       demonstrates conclusively the lack of merit to Ms.

     21       Lee's charges against Market America.

     22                  You see that?

     23            A.    I do.

     24            Q.    Now, you agree that that's incorrect,

     25       because you said Ms. Chaffin did not replace Ms. Lee

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      1       in her position.       Correct?

      2            A.    She was -- her duties replaced Ms. Lee.

      3            Q.    Only her training specialist duties.

      4       Correct?

      5            A.    Correct.

      6            Q.    And I believe you said that no one was put

      7       in the position that Ms. Lee formerly held.

      8       Correct?

      9            A.    That is correct.

     10            Q.    All right.            Now, let's skip over to the

     11       page that is identified at 019.

     12                  Do you see the paragraph where we're

     13       talking about Ms. Lee possesses a degree in

     14       chemistry and had no managerial experience prior to

     15       or during her tenure at Market America?

     16            A.    Yes.

     17            Q.    What did that have to do with the fact

     18       that Ms. Lee's position was eliminated?

     19            A.    It is my understanding that it was due to

     20       her not being hired as a manager of a department.

     21       But I do not recall specifically.

     22            Q.    You mean to Ms. Lee not being hired as the

     23       manager of the department?

     24            A.    Correct.

     25            Q.    Oh, I see.

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      1                  Are you -- is it your understanding that

      2       Ms. Lee was making such an accusation?

      3            A.    That she was applying to be at some point

      4       the manager of the department.

      5            Q.    Okay.     In the last paragraph, the last

      6       sentence of that paragraph, it says Sherry Spesock

      7       served as director of human resources from November

      8       2015, and was Ms. Lee's upline supervisor and

      9       department head.

     10                  Do you see that?

     11            A.    Uh-huh.

     12            Q.    What does it mean that she was your -- you

     13       were her upline supervisor?

     14            A.    It means that the training department

     15       reported to me.      And so I was the head of -- over

     16       all that entire department, training, HR.

     17            Q.    Now, earlier this morning in the

     18       deposition you told me that you were never Ms. Lee's

     19       supervisor.

     20            A.    Never her direct supervisor.

     21            Q.    Now, on the next page that starts off with

     22       performance issues with Ms. Lee, would it be fair to

     23       say that everything you know about the performance

     24       issues with Ms. Lee stemmed from communications that

     25       you had with Ms. Camara?

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      1            A.    That is correct.

      2            Q.    For example, the second paragraph that

      3       starts off with almost immediately, Ms. Lee

      4       complained that she did not want to perform training

      5       anymore.

      6                  Do you see that?

      7            A.    Yes.

      8            Q.    You would agree that all of that

      9       information, including that and the information

     10       contained in that paragraph and the next paragraphs,

     11       all relate to information that Ms. Camara

     12       communicated to you?

     13                         MS. DEBOARD:                     Objection to form.            You

     14       can answer.

     15                         THE WITNESS:                     Say that again.

     16                         MS. DEBOARD:                     I'm just objecting to

     17       the form of the question.                     But you can answer it.

     18                         THE WITNESS:                     Okay.            Yes, it was from

     19       Ms. Camara.

     20            Q.    (Ms. Gray)            Then if you go to the next

     21       page, which I think is marked as 21, it says --

     22       starting with the paragraph that says, meanwhile,

     23       the decision was made to streamline the company's

     24       training program.

     25                  Do you see that?

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      1            A.    I do.

      2            Q.    Is that what you talked about with regard

      3       to Brandi Foster and Ms. Camara's input?

      4            A.    No.     This is talking about the vision that

      5       Ms. Camara had for the training program and the

      6       department.

      7            Q.    Okay, so it was solely based on what Ms.

      8       Camara had communicated to you?

      9            A.    Correct.

     10            Q.    Is there anything that is written on this

     11       position statement that came from your firsthand

     12       knowledge as it pertains to Ms. Lee?

     13            A.    No.

     14            Q.    On the last paragraph, which is on page

     15       21, it says taken together, Ms. Lee's supervisors

     16       concluded that she was not performing up to

     17       standard, was not aligned with departmental goals

     18       and was not a team player.                       Ms. Lee was terminated

     19       on October 5th, 2017.

     20                  Do you see that?

     21            A.    I do.

     22            Q.    The supervisors that you're referring to

     23       there are Ms. Camara and who else?

     24            A.    I do not know.

     25            Q.    Okay, and then it says Ms. Lee was

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      1       terminated on October 5th, 2017.

      2                  Why didn't you say Ms. Lee's position was

      3       eliminated?

      4            A.    I do not recall.

      5            Q.    Do you think there is a distinction

      6       between Ms. Lee's position being eliminated versus

      7       Ms. Lee being terminated for job performance, or

      8       poor job performance?

      9            A.    Can you repeat that?                          I apologize.

     10            Q.    Do you believe that there is a distinction

     11       between Ms. Lee being terminated for poor job

     12       performance and Ms. Lee being terminated because her

     13       position was eliminated?

     14            A.    No.

     15            Q.    You think it's the same thing?

     16            A.    The title was eliminated.                                  But she was

     17       terminated for performance based off of Ms. Camara.

     18            Q.    So you think the accurate description of

     19       Ms. Lee's separation of employment is that she was

     20       terminated for poor job performance?

     21            A.    Yes.

     22            Q.    Now, in the course of this lawsuit, there

     23       have been various documents exchanged between myself

     24       and counsel for Market America.                             And one of the

     25       questions asked of Market America is to provide us

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      1       with every reason that they were aware of for why

      2       Ms. Lee's position was separated from Market

      3       America.

      4                    And according to the documents that I

      5       have, the reasons given for Ms. Lee's termination --

      6       and I guess I should tell you how the question was

      7       worded.    Okay?

      8                    I said please describe and state with

      9       specificity each and every reason for the

     10       plaintiff's separation of employment.                                         Okay?   I

     11       didn't use the word termination.

     12            A.      Okay.

     13            Q.      I just said separation.

     14                    And it says plaintiff was separated from

     15       her job for her repeated failure to work with her

     16       direct supervisor, perform tasks assigned to her,

     17       work with new software, adapt and change her work,

     18       failure to properly complete her training sessions

     19       as requested and failure to be a team player.

     20                    Does that sound accurate to you?

     21            A.      Yes.

     22                            MS. DEBOARD:                     Counsel, what

     23       interrogatory response was that?

     24                            MS. GRAY:                That's interrogatory

     25       number 12.

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      1            Q.    (Ms. Gray)            Now, as you sit here today, do

      2       you believe that that is accurate?

      3            A.    Yes.

      4            Q.    And have you told me in the questions that

      5       I've asked you what you know about her repeated

      6       failure to work with her direct supervisor?

      7            A.    Based off of the conversations that I've

      8       had with her.     Correct.

      9            Q.    Okay, and have you told me everything that

     10       you're aware of regarding Ms. Lee's failure to

     11       perform a task assigned to her?

     12            A.    Yes.    Not doing the trainings, rushing

     13       through the trainings.                The account services

     14       training that was typically six weeks, she rushed

     15       through, ended it in four.                      And she didn't want to

     16       learn the new programs that we were trying to put in

     17       place.

     18            Q.    And is that related to where it says her

     19       failure to work with new software?

     20            A.    Correct.

     21            Q.    And adapt and change her work.                                  Have you

     22       told me everything you know about that?

     23            A.    Yes.

     24            Q.    Ms. Lee's failure to properly complete her

     25       training sessions as requested.

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      1                  Have you told me everything about that

      2       that you know of, and her failure to be a team

      3       player?

      4            A.    Yes.

      5            Q.    Okay, so your position is that Ms. Lee was

      6       terminated for these reasons, as well?

      7            A.    Correct.

      8            Q.    Okay, and I believe you said that the

      9       reason for -- that the person who terminated Ms. Lee

     10       was Liliana Camara.            Correct?

     11            A.    Correct.

     12            Q.    Okay.     Now, did you ever receive any

     13       emails from any employees complaining about Ms.

     14       Lee's job performance?

     15            A.    I did not.

     16            Q.    Did you receive any emails from any

     17       customers or clients, individuals whom Ms. Lee may

     18       have trained, complaining about her job performance?

     19            A.    I did not.

     20            Q.    Do you know if Ms. Camara received such

     21       items?

     22            A.    I do not recall.

     23            Q.    Did Ms. Lee ever make a statement to you

     24       that Ms. Camara had said that she felt that there

     25       were cultural differences between Ms. Lee and

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      1       herself that impacted their ability to work

      2       together?

      3            A.     She had mentioned it originally, yes, when

      4       she was going to be reporting to her.

      5            Q.     Tell me what you remember about that

      6       conversation.

      7            A.     Ms. Lee had come to me, stating that she

      8       didn't feel comfortable reporting to Ms. Camara

      9       because of -- I don't recall what was said.

     10       Something that was said when they first started

     11       working together.

     12                   And I told her that I would have a

     13       conversation with Ms. Camara.                          But as the manager of

     14       the department, she would be reporting to Ms.

     15       Camara.

     16            Q.     And is that the only time that you recall

     17       that type of conversation coming up between you and

     18       Ms. Lee?

     19            A.     I don't recall if there were any others.

     20       There might have been, but I don't recall.

     21            Q.     Okay, and then you did speak to Ms. Camara

     22       about Ms. Lee's communications with you.                                  Is that

     23       right?

     24            A.     Yes, ma'am.

     25            Q.     And tell me what happened during that

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      1       conversation.

      2              A.   That conversation between Ms. Camara and I

      3       was, you know, to, you know, be a professional and,

      4       you know, manage everybody the same, and not treat

      5       her any different, which she wouldn't either --

      6       anyways.

      7                   And just, you know, to be the best manager

      8       that she could be of the department.

      9              Q.   Did you have a recollection of when that

     10       conversation may have happened between you and Ms.

     11       Camara?

     12              A.   It was shortly after Ms. Lee and I had

     13       met.    I don't remember when it was though.

     14              Q.   And you don't remember when you and Ms.

     15       Lee met or ---

     16              A.   --- I do not.

     17              Q.   My understanding is that Ms. Camara

     18       supervised an individual by the name of Delia

     19       Zapata.

     20              A.   Yes, ma'am.

     21              Q.   And my understanding is that Ms. Zapata --

     22       and I hope I'm saying her name correct -- was hired

     23       as a training specialist.                    Is that correct?

     24              A.   She was promoted within.                               She was also --

     25       if memory serves correctly, she was also an account

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      1       services rep to begin.                 And then she was promoted

      2       into the department.

      3              Q.   Okay, and who was she promoted into the

      4       department by?

      5              A.   At that time it would have been Ms.

      6       Trotter.

      7              Q.   Okay, and then she would have worked under

      8       Liliana Camara.       Correct?

      9              A.   Correct.

     10              Q.   Okay, and she was a Hispanic individual?

     11              A.   Correct.

     12              Q.   Does she still work for Market America?

     13              A.   She does.

     14              Q.   And what is her title now?

     15              A.   She's still a training specialist.

     16              Q.   Was Ms. Camara involved in her hire in any

     17       way?

     18              A.   Not that I'm aware of.

     19              Q.   Okay.     Do you know an individual by the

     20       name of Henri Hue?

     21              A.   Yes.

     22              Q.   And was he hired by Ms. Camara?

     23              A.   Oh, gosh.           He would also have been

     24       promoted into the department.                            I believe that was

     25       done by Ms. Trotter.

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      1                   I'm trying to remember.                                I'm sorry.    I'm

      2       trying to get my timeline correct to my brain.

      3                   Ms. Zapata might have been hired by

      4       Liliana -- Ms. Camara.                 Henri was hired prior -- or

      5       promoted prior to Ms. Zapata.

      6                   I apologize.               I cannot recall exactly when

      7       that happened.

      8            Q.     Okay.     What is Ms. Zapata's race?

      9            A.     She's Hispanic.

     10            Q.     And what about Mr. Hue?

     11            A.     I don't know what nationality he is, but

     12       he's Black.

     13            Q.     Okay, and then what about, are you

     14       familiar with Cherri Walston?

     15            A.     She was Black.

     16            Q.     And was she hired by Ms. Camara?

     17            A.     Not that I am aware of.                                She was there

     18       prior to Ms. Camara.

     19            Q.     Okay, so based on what you're telling me,

     20       it doesn't sound like Ms. Camara hired any of these

     21       individuals.     Is that right?

     22            A.     Like I said, I can't remember exactly my

     23       timeline.     It is possible that Ms. Zapata was

     24       promoted by Ms. Camara, but I cannot recall if

     25       that's accurate.

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      1                    But Ms. -- I'm trying -- no.                                    Never mind.

      2       I'm sorry.     I can't remember if Ms. Trotter was

      3       still there or not.

      4               Q.   All right.            I believe that I have some

      5       documentation that you can refer to that may assist

      6       you in answering these questions regarding who was

      7       working for whom and when the time frame was.

      8                    But I'll come back to you with those

      9       questions just to confirm.

     10               A.   Okay.

     11               Q.   All right.            Let me show you what has

     12       previously been marked as Bates stamp Market America

     13       355 consecutively through 358.                              And this is

     14       documentation that was submitted to the North

     15       Carolina Department of Commerce.

     16                    Let me have you take a minute to review

     17       that document.

     18               (Witness examined document)

     19               A.   Okay.

     20               Q.   Okay.     Now, prior to today, have you seen

     21       that?

     22               A.   Yes, I saw it in her employment file.

     23               Q.   And would you agree that that is the

     24       documentation that was submitted to the North

     25       Carolina Department of Commerce, which is the

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      1       unemployment division.                 It's the division of

      2       employment security, which handles unemployment

      3       benefits for individuals.

      4            A.     Correct.

      5            Q.     Would you agree with me that that is what

      6       you're looking at?

      7            A.     Yes.

      8            Q.     Okay, and it looks like to me, this is

      9       documentation that Market America submitted in

     10       response to Ms. Lee's request for unemployment

     11       benefits.

     12                   Would you agree with that?

     13            A.     Yes, ma'am.

     14            Q.     All right.            According to this document, if

     15       you look in box number eight, which would be on

     16       Bates stamp 357.

     17                   Do you see that?

     18            A.     I do.

     19            Q.     Number eight, it says reason why claimant

     20       is no longer working.                And then there's a check

     21       beside other, and it says complete item 17.

     22                   Do you see that?

     23            A.     Uh-huh.

     24            Q.     And then when you go down to item 17,

     25       which is on the next page, it says position

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      1       eliminated.

      2                   Do you see that?

      3            A.     I do.

      4            Q.     If Ms. Lee was terminated for the reasons

      5       that are set forth in these discovery responses, and

      6       you've agreed that they are accurate and correct,

      7       why was the North Carolina Department of Commerce

      8       told that Ms. Lee was separated due to a position

      9       elimination?

     10            A.     I believe it was miscommunication.

     11            Q.     Between whom?

     12            A.     What was documented on the file.                                 And

     13       there's a reason that's put on the employment file,

     14       on the front.       And I believe that that was

     15       incorrectly documented.

     16            Q.     And who do you think incorrectly

     17       documented it?

     18            A.     I do not recall.

     19            Q.     When you say you believe that there was

     20       documentation miscommunication, you believe that

     21       there was something on Ms. Lee's employee file at

     22       Market America that was inaccurate, which led to

     23       this inaccurate information to the department of

     24       commerce?

     25            A.     Correct.

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      1                   I believe that on the front of the

      2       employment file where it asks for the reason behind

      3       why they're no longer with the company, it said

      4       position eliminated.

      5                   I believe it also said work performance,

      6       but I do not recall.

      7            Q.     Was there ever an attempt that you are

      8       aware of to correct that information that was

      9       provided to the North Carolina Department of

     10       Commerce?

     11            A.     That, I am not aware of.

     12                        MS. GRAY:                 Camilla, can you show her

     13       Bates stamp 279?

     14                   I can show it to her on mine if you ---

     15                        MS. DEBOARD: --- I got it here.

     16                        MS. GRAY:                 You do?

     17                        MS. DEBOARD:                      279?

     18                        MS. GRAY:                 Yes.

     19                   The very top of the page says confidential

     20       employee record.

     21                   Do you see where I am?

     22            Q.     (Ms. Gray)           Ms. Spesock, is that the file

     23       cover that you're talking about?

     24                        MS. DEBOARD:                      I'm just showing her

     25       the whole....

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      1                           MS. GRAY:                Uh-huh.                Okay.

      2                           THE WITNESS:                     Got you.                Yes.

      3              Q.   (Ms. Gray)             Okay, and if you scroll down

      4       to the very bottom of that page, it says separation

      5       record, discharge, 10/5/17, reason,

      6       performance/conduct.

      7                   Do you see that?

      8              A.   I do.

      9              Q.   So you would agree that that is what Ms.

     10       Lee's file said at Market America.                                    Correct?

     11              A.   I would say yes.                      But I'm not -- I don't

     12       know if there was anything else on there prior.

     13              Q.   Well, this is a document that's been

     14       produced to me by your counsel, or by counsel for

     15       Market America.

     16              A.   No.     I understand what you're saying.

     17       Yes.

     18              Q.   Are you aware of any other documentation?

     19              A.   No.     That's the employment file.

     20              Q.   That is her employment file.                                      Correct?

     21              A.   Uh-huh.

     22              Q.   And so based on the documentation that is

     23       with the department of commerce, your position is

     24       that that -- what can I rely on here?

     25                   Because there have been instances where

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      1       you have indicated Ms. Lee was terminated.                                  And then

      2       there was an indication to the department of

      3       commerce that her position was eliminated.

      4                   What can we relay on here in terms of what

      5       is accurate and what is true?

      6            A.     The role itself was eliminated.                                She was

      7       terminated based on her performance.

      8            Q.     Do you understand that if the employer

      9       informs the department of commerce that an

     10       employee's position has been eliminated, that that

     11       implies there is no wrongful conduct on behalf of

     12       that employee that would disqualify that employee

     13       from receiving unemployment benefits?

     14            A.     Yes, I'm aware of that.

     15            Q.     Based on the representations that were

     16       made by Market America, are you aware that -- to the

     17       department of commerce -- that Ms. Lee was able to

     18       get unemployment benefits?

     19            A.     I'm sorry.           Can you repeat that?

     20            Q.     Based on the information that was provided

     21       to the department of commerce by Market America, are

     22       you aware that Ms. Lee was able to get unemployment

     23       benefits?

     24            A.     Yes.

     25            Q.     Do you think that Market America is in any

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      1       way entitled to receive recoupment for those

      2       benefits if she received them ---

      3                            MS. DEBOARD:                     --- Objection.

      4               Q.   --- Based on a mistake that Market America

      5       says they made?

      6                            MS. DEBOARD:                     And just objection to

      7       form.

      8                    And this is just a personal deposition,

      9       not a 30(b)(6).         You can answer.

     10               Q.   (Ms. Gray)             I'm asking you in your

     11       capacity as the HR manager -- or director.                                    I'm

     12       sorry.

     13               A.   Do I think that Market America needs to

     14       recoup?

     15               Q.   Yeah.      Would Market America be entitled to

     16       recoup any employment benefits that Ms. Lee received

     17       based on the information that Market America

     18       provided to the department of commerce?

     19                            MS. DEBOARD:                     And I'll just object

     20       again for the record.                  Because it's just a personal

     21       deposition, it's not a 30(b)(6).

     22                    But you can answer.

     23                            THE WITNESS:                     No, I don't think that

     24       Market America would need to recoup the funds.

     25                            MS. GRAY: Okay.                         If we can take a

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      1       minute.    This is a good time to stop.

      2                   I know I still have more, but not much.

      3                           MS. DEBOARD:                     Okay.            Let's take a

      4       quick -- are you okay.

      5                   We can go off the record.

      6             (11:14-11:31 a.m. - recess)

      7             Q.    (Ms. Gray)             Did you have a conversation

      8       with Ms. Lee about her desire to move to another

      9       position within the company rather than -- or after

     10       she was terminated?

     11             A.    She had asked me on her way out if there

     12       was any positions open and if I would look for her.

     13             Q.    Okay, and you guys had a conversation,

     14       telephone call about that.                        Correct?

     15             A.    We did.

     16             Q.    Have you actually heard the telephone call

     17       ---

     18             A.    --- No.

     19             Q.    --- That was recorded?

     20             A.    No.

     21             Q.    Are you aware that there is a recorded

     22       telephone conversation between you and Ms. Lee

     23       regarding her looking for another position?

     24             A.    No.

     25             Q.    Okay.      Tell me what you remember about the

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      1       telephone conversation you had with Ms. Lee.

      2            A.    I had told her that I had reached out to

      3       the recruiter and -- Ms. Foster, and at that time,

      4       we did not have any positions available.

      5            Q.    Okay.     Ms. Lee specifically asked you

      6       about any type of translator position for Mandarin.

      7       Correct?

      8            A.    I do not recall that.                             I apologize.

      9            Q.    Well, at the time that Ms. Lee was

     10       terminated, you agree that there was an open

     11       translator position for Mandarin.                                 Correct?

     12            A.    I'd have to confirm what roles were open.

     13       At that time I was not aware.

     14            Q.    Okay, and I believe you told Ms. Lee that

     15       you spoke to Reid.

     16            A.    Correct.

     17            Q.    And who is Reid?

     18            A.    Reid is one of our recruiters.

     19            Q.    And I think you said that Reid had

     20       indicated that he had hired someone as a

     21       supplemental translator at the time.

     22                  Do you recall that?

     23            A.    Reid had told me that they had found

     24       somebody to take that position, so there wasn't

     25       going to be anything available.

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      1            Q.     And did he tell you it was an as-needed

      2       supplemental translator?

      3            A.     No.

      4            Q.     Did you talk to Jennifer about her needs

      5       for a translator?

      6            A.     Jennifer came to my office and asked me

      7       about the role for Ms. Lee.                         And I told her that it

      8       was my understanding from my conversation with Reid

      9       that the role was already filled, so there wouldn't

     10       be a role available.

     11            Q.     And did you tell Ms. -- did you tell

     12       Jennifer to tell Ms. Lee that there were no

     13       positions available?

     14            A.     I told Jennifer that if she was trying to

     15       -- that I was told that the role was being filled,

     16       and that at that point we would not have any other

     17       roles available.

     18            Q.     And that was the role of translator

     19       Mandarin?

     20            A.     Correct.

     21            Q.     Okay.     In the documentation that I have,

     22       it indicates that -- the question that was asked,

     23       number 13 in the interrogatories, it says please

     24       identify by job title each and every position that

     25       was open and available at the time of or within

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      1       three months after the plaintiff's termination.

      2                    And one of the positions that is listed is

      3       translator Mandarin.

      4                    Now, was that position filled as of the

      5       time that you had a conversation with Ms. Lee?

      6               A.   It was -- that role was being filled at

      7       that time.

      8               Q.   Who took that position?

      9               A.   I do not recall.

     10               Q.   But it wasn't Rose.                         Correct?

     11               A.   No.

     12               Q.   And are you aware that that position was

     13       still on Market America's website, posted on Market

     14       America's website as late as the end of October of

     15       2017?

     16               A.   The translation role?

     17               Q.   Yes.

     18               A.   It was just -- I was not aware that it was

     19       on the website.       It was just, I had a conversation

     20       with Reid about what positions were open.                                   And when

     21       I asked him about the translation role, he said that

     22       it was being filled.              That they had already found

     23       their candidate, and that it was being filled.

     24               Q.   And as you sit here today, you don't know

     25       who that person is?

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      1            A.    I do not.

      2            Q.    What's Reid's last name?

      3            A.    Nifong.

      4            Q.    Can you spell that?

      5            A.    N-i-f-o-n-g.

      6            Q.    Is it R-e-i-d?

      7            A.    R-e-I-d.

      8            Q.    Is he current -- you say he's a recruiter?

      9            A.    He is.

     10            Q.    For Market America?

     11            A.    He is.

     12            Q.    Does he still work for Market America?

     13            A.    Yes, ma'am.

     14            Q.    In that same role?

     15            A.    Yes, ma'am.

     16            Q.    Okay, so you're saying that if you did

     17       tell Jennifer to tell Ms. Lee that there were no

     18       other open positions, it's because of the

     19       conversation you had with Reid ---

     20            A.    --- That is correct.

     21            Q.    --- Where he informed you that the

     22       position had been filled?

     23            A.    He told me that it was in the process of

     24       being filled.

     25            Q.    And that person would now, or would have

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      1       at that time, who would that person have reported

      2       to?

      3             A.   Jennifer, Jennifer Lynn.

      4             Q.   The translator would have reported to

      5       Jennifer Lynn?

      6             A.   That is correct.

      7             Q.   So if Jennifer Lynn says that she never

      8       hired such an individual, would she be accurate?

      9             A.   I don't know.

     10             Q.   Okay.     All right, according to the

     11       documentation that I have, there was some concern

     12       about the salary that Rose would receive as a

     13       training specialist.

     14                  Do you recall the concerns that were

     15       articulated about that?

     16             A.   I do not recall.

     17             Q.   According to the documentation I have,

     18       which is a series of emails between yourself and

     19       Marc Ashley, Marc Ashley was asking questions about

     20       Rose's pay.   Seems that he was concerned that her

     21       pay going from 26K to 40K was a big jump.

     22                  Do you recall that?

     23             A.   I do recall.

     24             Q.   Tell me what you recall about it.

     25             A.   That he had concerns that it was such a

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      1       significant bump in pay at that moment in time,

      2       instead of doing like a stair step.                                    He was just

      3       questioning the significance in the bump.

      4            Q.    All right.            You indicated that you felt

      5       the bump was pretty much justified because of Rose's

      6       teaching background.             And you felt that that was a

      7       good skill set to have in training.

      8                  Do you recall that?

      9            A.    I do.

     10            Q.    You would agree with me that Rose didn't

     11       have any experience in training.                               Correct?

     12            A.    In actual training prior.                                   That is my

     13       understanding.

     14            Q.    And you previously testified that you did

     15       not look at her job application, and you didn't

     16       interview her.     Correct?

     17            A.    That is correct.

     18            Q.    So would it be fair to say that everything

     19       you told Marc Ashley about the justification for

     20       hiring Rose to

     21       the training specialist position came from

     22       information you obtained through Liliana Camara?

     23            A.    That is correct.

     24            Q.    Who trained Rose to train -- to be a

     25       training specialist?

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      1               A.   I believe -- I believe it was a

      2       collaboration of the entire training team.

      3               Q.   Which would have consisted of whom?

      4               A.   It would have consisted of Liliana, Henri

      5       and Abby.

      6               Q.   And what was Abby's last name?

      7               A.   Zapata.

      8               Q.   Is that Delia?

      9               A.   Sorry.       Yes.           Delia.

     10               Q.   Okay, so she also goes by the name of

     11       Abby?

     12               A.   She goes by Abby.

     13               Q.   And correct me if I'm wrong, Delia was

     14       Hispanic.     Correct?

     15               A.   Correct.

     16               Q.   Liliana is Hispanic.                            Correct?

     17               A.   Correct.

     18               Q.   And Rose, Asian.                      Correct?

     19               A.   Correct.

     20               Q.   Liliana didn't speak Mandarin.                                     Correct?

     21               A.   Correct.

     22               Q.   Delia didn't speak Mandarin.                                     Correct?

     23               A.   Correct.

     24               Q.   And Henri did not speak Mandarin.

     25       Correct?

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      1            A.    Correct.

      2            Q.    Was there anyone who spoke Mandarin who

      3       assisted in the training of Rose?

      4            A.    No.     Not that I'm aware of.

      5            Q.    Now, my understanding is, and you can

      6       correct me if I'm wrong, that the positions held by

      7       Henri and Delia were actually posted on Market

      8       America's website.           Is that correct?

      9            A.    Not that I can recall.

     10            Q.    Okay.      Did they have to apply for the

     11       positions that they had with Market America?

     12            A.    For their initial or for the promotion

     13       into the training department?

     14            Q.    Well, for the position -- according to my

     15       documentation, Henri Hue was a senior trainer.

     16                  Was that position ever posted?

     17            A.    I do not recall.

     18            Q.    And then, Delia, with regard to the

     19       training specialist position, was that position ever

     20       posted?

     21            A.    Not that I recall.

     22            Q.    Now, my understanding is that Liliana is

     23       no longer employed with Market America.                                     Is that

     24       correct?

     25            A.    That is correct.

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      1            Q.    And do you know why she left?

      2            A.    She got another position.

      3            Q.    And that's what she told you.                                  Correct?

      4            A.    Yes.

      5            Q.    Liliana left Market America in

      6       approximately March of 2018.                        Is that right?

      7            A.    I do not know the exact timing.

      8            Q.    Well, if that's what the documents show,

      9       you don't have any reason to dispute that.                                   Correct?

     10            A.    That's correct.

     11            Q.    When Liliana left, who took her place?

     12            A.    We hired Lori Galbreath.

     13            Q.    And what was her title?

     14            A.    Global training manager.                                I believe that's

     15       global training manager.

     16            Q.    All right.           Now, I just want to switch

     17       gears.

     18                  Are you aware that at the time of Ms.

     19       Lee's employment with Market America, she was

     20       required to sign a covenant not to compete?

     21            A.    Can you repeat that?

     22            Q.    Are you aware that at the time that Ms.

     23       Lee was hired to work for Market America she was

     24       required to sign a covenant not to compete?

     25            A.    A noncompete, yeah.                         Yes, ma'am.

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      1            Q.    And the noncompete covenant that I've

      2       reviewed extended for a period of six months after

      3       termination of employment with Market America.

      4                  Does that sound like your understanding?

      5            A.    Correct.

      6            Q.    And during that six-month period of time,

      7       she would not be able to directly or indirectly

      8       compete with Market America within the state of

      9       North Carolina in terms of her previous position.

     10       Correct?

     11            A.    Correct.

     12            Q.    After that six-month period of time, would

     13       Ms. Lee have been eligible to seek employment in

     14       almost the exact same role as she would have had at

     15       Market America with another employer?

     16            A.    With another employer?                             I would imagine

     17       so, yes.

     18            Q.    But she would have to wait the six-month

     19       period of time.     Correct?

     20            A.    Correct.

     21            Q.    Do you have any evidence as you sit here

     22       today that Ms. Lee breached that agreement?

     23            A.    Not that I'm aware of.

     24            Q.    Did anyone contact you during that six-

     25       month period of time indicating that Ms. Lee was

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      1       seeking employment with them and they want to verify

      2       that the noncompete would not be violated if she was

      3       hired?

      4            A.    No, ma'am.

      5            Q.    Did you ever review any of the information

      6       -- and when I say review, I mean verify.                                  Okay?

      7            And this would be in your capacity as the

      8       director of HR.

      9                  Did you ever verify any of the information

     10       on Rose Chaffin's application for accuracy?

     11            A.    Me personally, no.

     12            Q.    Do you know if anyone in the company did?

     13            A.    I do not know.

     14            Q.    Would that have been your role?

     15            A.    No.

     16            Q.    For example, on Ms. Chaffin's application

     17       she lists her employment history, she lists her

     18       education background.              She also listed some

     19       professional references.

     20                  And my question is would it have been your

     21       responsibility or your role as the director of HR to

     22       verify any of that?

     23            A.    No.

     24            Q.    Whose role would that have been, if

     25       anybody?

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      1               A.   The references would have been done by the

      2       recruiters.

      3               Q.   And at that time, do you know who the

      4       recruiters were?

      5               A.   At that time, I do not know who recruited

      6       Ms. Chaffin.

      7                            MS. GRAY:                All right.                      That's all I

      8       have.

      9                            MS. DEBOARD:                     Let me check my notes

     10       real quick, but I don't think I have any questions.

     11                    Oh, I do have one.

     12                                        EXAMINATION

     13       BY MS. DEBOARD:

     14               Q.   Did Rose attend Nadine Lee's training in

     15       Mandarin when she first started at Market America?

     16               A.   Yes.

     17                            MS. DEBOARD:                     I don't have any more

     18       questions.

     19                            MS. GRAY:                Thank you.

     20                    I don't have anything to follow up.

     21               WHEREUPON,

     22        at 11:47 o'clock a.m. the deposition was adjourned.

     23

     24

     25

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                            CERTIFICATE OF TRANSCRIPT

                   I, Cassandra J. Stiles, Notary Public in and for

       the County of Forsyth, State of North Carolina at Large, do

       hereby certify that there appeared before me the foregoing

       witness;

                   That the testimony was duly recorded by me,

       reduced to typewriting by me or under my supervision and the

       foregoing consecutively numbered pages are a complete and

       accurate record of the testimony given at said time by said

       witness;

                   That the undersigned is not of kin nor associated

       with any of the parties to said cause of action, nor any

       counsel thereto, and that I am not interested in the

       event(s) thereof.

                   IN WITNESS WHEREOF, I have hereunto set my hand

       this the 13th Day of May, 2021.



                               ________________________________

                               Cassandra J. Stiles, CVR-M
                               Certified Court Reporter
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                               CERTIFICATE OF OATH

                   I, Cassandra J. Stiles, Notary Public in and for

       the County of Forsyth, State of North Carolina at Large, do

       hereby certify that there appeared before me the foregoing

       witness;

                   That the witness personally appeared before me at

       the date, time and location hereon captioned and was

       personally sworn by me prior to the commencement of the

       proceeding in the matter hereon captioned.

                   IN WITNESS WHEREOF, I have hereunto set my hand

       this the 13th Day of May, 2021.


                               ________________________________

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                               Certified Court Reporter
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